        Case 1:21-cv-00153-GHW-SDA Document 6 Filed 01/11/21 Page 1 of 2


                                                                        USDC SDNY
UNITED STATES DISTRICT COURT                                            DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                           ELECTRONICALLY FILED
 ---------------------------------------------------------------- X     DOC #: _________________
                                                                  :     DATE FILED: 1/11/21
 GLENDA LEE MARTES ESTRADA,                                       :
                                                                  :
                                                 Plaintiff,       :       1:21-cv-00153-GHW
                                                                  :
                              -against-                           :   ORDER OF SERVICE AND
                                                                  :    SCHEDULING ORDER
 COMMISSIONER OF SOCIAL SECURITY,                                 :
                                                                  :
                                                 Defendant. :
                                                                  :
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GREGORY H. WOODS, District Judge:

         The Clerk of Court shall notify the U.S. Attorney’s Office for the Southern District of New

York of the filing of this pro se case, brought pursuant to 42 U.S.C. § 405(g), for which the filing fee

has been waived. The U.S. Attorney’s Office shall use its best efforts to file a notice of appearance

within fourteen days of the date of this Order.

         The Court orders the following briefing schedule, which varies in certain respects from the

Standing Order “Motions for Judgment on the Pleadings in Social Security Cases,” 16-MC-0171

(Apr. 20, 2016):

         Within 90 days of filing a notice of appearance, the Commissioner of Social Security shall

file the Electronic Certified Administrative Record (e-CAR), which shall constitute the defendant’s

answer, or otherwise move against the complaint. If the Commissioner wishes to file a motion for

judgment on the pleadings, any other motion, or a stipulation to remand to the Commissioner, the

Commissioner shall do so within that same ninety-day period. Unless the Commissioner obtains an

extension of time from the Court, the Commissioner shall file an e-CAR and any other motion or

stipulation no later than 110 days from the date of this Order. If Plaintiff wishes to file a cross-

motion, Plaintiff must do so within thirty days after the Commissioner’s filing of a motion.
       Case 1:21-cv-00153-GHW-SDA Document 6 Filed 01/11/21 Page 2 of 2



       An opposition to any motion shall be filed within thirty days from service of the motion.

Any reply must be filed within fourteen days thereafter. Any motion or opposition must be

accompanied by a supporting memorandum of law and include specific citation to the parts of the

record on which the party relies.

       Requests for an extension of any of the dates set forth herein must be made in accordance

with the Court’s Individual Rule 1(E). In addition, if the Commissioner anticipates that the

Commissioner will require an extension of the date by which it must file a motion for judgment on

the pleadings, any other motion, or a stipulation of remand to the Commissioner, the Commissioner

should request the extension no less than two business days prior to the filing of the e-CAR or other

response to the complaint.

       Memoranda in support of or in opposition to any dispositive motion shall not exceed 25

pages in length, and reply memoranda shall not exceed 10 pages in length. A party seeking to exceed

these page limitations must apply to the Court for leave to do so, with copies to all counsel, no

fewer than seven days before the date upon which the memorandum is due.

       The Clerk of Court is directed to mail a copy of this order to Plaintiff by certified mail.

       SO ORDERED.


 Dated: January 10, 2021                               _____________________________________
                                                                GREGORY H. WOODS
                                                               United States District Judge




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